     Case 2:18-cr-00626 Document 34 Filed on 10/20/20 in TXSD Page 1 of 6
                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                          UNITED STATES DISTRICT COURT                              October 20, 2020
                           SOUTHERN DISTRICT OF TEXAS                              David J. Bradley, Clerk
                             CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                     §
 Plaintiff,                                   §
                                              §
       v.                                     §           CRIMINAL NO. 2:18-626
                                              §
RODNEY LUTHER KENNEDY,                        §
 Defendant.                                   §

                          MEMORANDUM OPINION & ORDER

       Pending before the Court are Defendant Rodney Luther Kennedy’s Motion and

Supplemental Motion for Reduction of Sentence in Accordance with 18 U.S.C. 3582

(Compassionate Release) (D.E. 30, 32), to which the United States of America (the

“Government”) has responded (D.E. 33).

I. BACKGROUND

       In 2018, Defendant was arrested by state authorities as a result of an ongoing

investigation by the Drug Enforcement Administration. As detailed in the Presentence

Investigation Report, Defendant participated in numerous narcotics dealings leading up to his

arrest. PSR, D.E. 21. He pled guilty to possession with intent to distribute 265 grams of

methamphetamine in 2018 and was sentenced to 78 months’ imprisonment.

       Defendant has served 27 months (35%) of his sentence and has a projected release date,

after good time credit, of March 9, 2024. He now moves the Court to reduce his sentence to time

served because his underlying medical conditions (obesity, hypertension, pre-diabetes, and

possible undiagnosed cardiovascular disease) make him particularly vulnerable to severe illness

or death should he contract COVID-19 while in prison. Defendant submitted an administrative




                                              1
      Case 2:18-cr-00626 Document 34 Filed on 10/20/20 in TXSD Page 2 of 6




request for compassionate release with the Bureau of Prisons on June 16, 2020, but the warden at

FCI Schuylkill denied his request.

II. LEGAL STANDARD

       The statute, 18 U.S.C. § 3582(c)(1)(A), authorizes a court to reduce a defendant’s

sentence under limited circumstances:

              (c) Modification of an Imposed Term of Imprisonment.—The
              court may not modify a term of imprisonment once it has been
              imposed except that—
                  (1) in any case—
                      (A) the court, upon motion of the Director of the Bureau of
                      Prisons, or upon motion of the defendant after the
                      defendant has fully exhausted all administrative rights to
                      appeal a failure of the Bureau of Prisons to bring a motion
                      on the defendant’s behalf or the lapse of 30 days from the
                      receipt of such a request by the warden of the defendant’s
                      facility, whichever is earlier, may reduce the term of
                      imprisonment (and may impose a term of probation or
                      supervised release with or without conditions that does not
                      exceed the unserved portion of the original term of
                      imprisonment), after considering the factors set forth in
                      section 3553(a) to the extent that they are applicable, if it
                      finds that—
                          (i) extraordinary and compelling reasons warrant such
                          a reduction . . . and that such a reduction is consistent
                          with applicable policy statements issued by the
                          Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A)(i) (emphasis added).

       The applicable United States Sentencing Commission policy statement provides that

extraordinary and compelling reasons for early release exist where:

       (A) Medical Condition of the Defendant.—

            (i) The defendant is suffering from a terminal illness (i.e., a serious and
            advanced illness with an end of life trajectory). A specific prognosis of life
            expectancy (i.e., a probability of death within a specific time period) is not
            required. Examples include metastatic solid-tumor cancer, amyotrophic
            lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.



                                                 2
      Case 2:18-cr-00626 Document 34 Filed on 10/20/20 in TXSD Page 3 of 6




            (ii) The defendant is—

              (I) suffering from a serious physical or medical condition,
              (II) suffering from a serious functional or cognitive impairment, or
              (III) experiencing deteriorating physical or mental health because of the
              aging process,

              that substantially diminishes the ability of the defendant to provide self-
              care within the environment of a correctional facility and from which he or
              she is not expected to recover.

       (B) Age of the Defendant. –

            The defendant is (i) at least 65 years old; (ii) is experiencing a serious
            deterioration in physical or mental health because of the aging process; and
            (iii) has served at least 10 years or 75 percent of his or her term of
            imprisonment, whichever is less;

       (C) Family Circumstances. –

           (i) The death or incapacitation of the caregiver of the defendant’s minor
           child or minor children.

           (ii) The incapacitation of the defendant’s spouse or registered partner
           when the defendant would be the only available caregiver for the spouse
           or registered partner.

       (D) Other Reasons. –

            As determined by the Director of the Bureau of Prisons, there exists in the
            defendant’s case an extraordinary or compelling reason other than, or in
            combination with, the reasons described in subdivisions (A) through (C).

U.S.S.G. § 1B1.13(1)(A), Application Note 1.

       Even if “extraordinary and compelling reasons” for early release exist, the Guidelines’

policy statements provide for a reduction in sentence only if a defendant “is not a danger to the

safety of any other person or the community, as provided in 18 U.S.C. §3142(g).” U.S.S.G. §

1B1.13(2). Factors relevant to this inquiry include: (1) the nature and circumstances of the

offenses of conviction, including whether the offense is a crime of violence, or involves a minor

victim, a controlled substance, or a firearm, explosive, or destructive device; (2) the weight of

                                               3
      Case 2:18-cr-00626 Document 34 Filed on 10/20/20 in TXSD Page 4 of 6




the evidence; (3) the defendant’s history and characteristics; and (4) the nature and seriousness of

the danger to any person or the community that would be posed by the defendant’s release. See

18 U.S.C. § 3142(g).

         The Court must also consider whether a reduction is consistent with the applicable

section 3553(a) factors. See 18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13. The applicable

statutory factors include, among others: the defendant’s history and characteristics; the nature

and circumstances of the offense; the need for the sentence to reflect the seriousness of the

offense, promote respect for the law, and provide just punishment for the offense; the need to

deter criminal conduct and protect the public from further crimes of the defendant; the need to

provide the defendant with, among other things, any needed medical treatment; and the various

kinds of sentences available. See 18 U.S.C. §§ 3553(a)(1)-(7).

         With respect to motions for compassionate release based on COVID-19:

         A review of a motion for release based on COVID-19 is highly fact-intensive and
         dependent on the specific conditions of confinement and medical circumstances
         faced by the defendant. Hence, a prisoner cannot satisfy his burden of proof by
         simply citing to nationwide COVID-19 statistics, asserting generalized statements
         on conditions of confinement within the BOP, or making sweeping allegations
         about a prison’s ability or lack thereof to contain an outbreak. . . . [T]he rampant
         spread of the coronavirus and the conditions of confinement in jail, alone, are not
         sufficient grounds to justify a finding of extraordinary and compelling
         circumstances. Rather, those circumstances are applicable to all inmates who are
         currently imprisoned and hence are not unique to any one person.

United States v. Koons, 2020 WL 1940570, at *4 & n.8 (W.D. La. Apr. 21, 2020) (citing

United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020)).

         “In general, the defendant has the burden to show circumstances meeting the test for

compassionate release.” United States v. Stowe, 2019 WL 4673725, at *2 (S.D. Tex. Sept. 25,

2019).




                                                  4
      Case 2:18-cr-00626 Document 34 Filed on 10/20/20 in TXSD Page 5 of 6




III. ANALYSIS

       Defendant is 47 years old. He has offered evidence that he suffers from hypertension,

among other things. According to the Centers for Disease Control and Prevention, adults of any

age who have hypertension might be at an increased risk of severe illness from COVID-19.

People with Certain Medical Conditions, CDC (Oct. 16, 2020), https://www.cdc.gov/coronavirus

/2019-ncov/need-extra-precautions/people-with-medical-conditions.html. Defendant emphasizes

that he has completed numerous programs and educational courses supporting his rehabilitation.

       The Government acknowledges that Defendant might be at increased risk for severe

illness from COVID-19 by virtue of his hypertension, but argues that the BOP has undertaken

extensive efforts to mitigate the risks that COVID-19 poses to the inmate population. As of

October 19, 2020, FCI Schuylkill has 0 active inmate COVID-19 cases out of 1,019 total

inmates. The Government further argues that Defendant has failed to demonstrate that he is not a

danger to the safety of the community or otherwise merits release under the § 3553(a) factors.

       While Defendant is at an increased risk of severe illness should he contract COVID-19,

the Court nonetheless finds that the § 3553(a) factors, as considered in the specific context of the

facts of his case, do not warrant a reduction in his sentence. Defendant’s PSR reflects that he has

spent much of his adult life in the criminal justice system. In addition to the current offense, his

scored criminal history included convictions for conspiracy to manufacture methamphetamine,

possession of methamphetamine (two convictions), and evading arrest/detention. His unscored

criminal history included convictions for public intoxication, unlawfully carrying a weapon,

issuing a worthless check, delivery of amphetamine (three convictions), possession of

methamphetamine (two convictions), and unlawfully carrying a firearm. At the time of



                                                 5
      Case 2:18-cr-00626 Document 34 Filed on 10/20/20 in TXSD Page 6 of 6




sentencing, Defendant also had charges pending in Texas state courts for possessing a prohibited

weapon, possession of marijuana, and possession of a controlled substance. Defendant has

continued to engage in misconduct while in prison. His Inmate Discipline Data Sheet reflects

that he was sanctioned for using drugs/alcohol on two occasions in the last 18 months. According

to the Government, reports from the Defendant’s BOP case manager state that Defendant has a

high risk of recidivism. Releasing Defendant more than four years early, when he has served

only a third of his sentence, would not reflect the seriousness of the offense, promote respect for

the law, or provide just punishment for the offense, nor would it deter criminal conduct or protect

the public from further crimes.

IV. CONCLUSION

       For the foregoing reasons, Defendant’s Motion and Supplemental Motion for Reduction

of Sentence in Accordance with 18 U.S.C. 3582 (Compassionate Release) (D.E. 30, 32) are

DENIED.

       It is so ORDERED this 20th day of October, 2020.




                                             ____________________________________
                                                        JOHN D. RAINEY
                                                  SENIOR U.S. DISTRICT JUDGE




                                                6
